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Application GRANTED. The deadline to submit the next joint status letter is
ADJOURNED, sine die. Plaintiffs shall file default judgment materials, pursuant to
Attachment A of the Court's Individual Rules, no later than February 3, 2023. As part
of the information described in 2(a)(ii) and 2(a)(iii), Plaintiffs shall include a description
of their communications with Defendant throughout the history of this action. Plaintiff
shall provide Respondent a copy of this Order via Federal Express and file proof of
service on ECF by January 24, 2023. Respondent is apprised that failure to appear
may result in a default judgment against it. So Ordered.

Dated: January 20, 2023
       New York, New York
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